           CASE 0:16-cr-00334-JNE-KMM Document 78 Filed 01/17/18 Page 1 of 2
PS 8                                                                                 Filed by the
(Rev 5/10)                                                                           Clerk
                           UNITED STATES DISTRICT COURT
                                           for
                                 District of Minnesota

U.S.A. vs. John L. Steele                               Docket No. 0864 0:16CR00334-002(JNE)
                         Petition for Action on Conditions of Pretrial Release

        COMES NOW Houa Vang, U.S. PROBATION OFFICER OF THE COURT, presenting
an official report upon the conduct of John L. Steele who was placed under pretrial supervision
by the Honorable Kate M. Menendez, sitting in the Court at Minneapolis on the 9th day of
January, 2017, under the following special conditions:

       x     Pretrial Services Supervision
       x     Obtain and Maintain Employment
       x     Surrender Passport
       x     Obtain No New Passport
       x     Travel Restrictions
       x     No Contact with Victim/Witness
       x     Weapons Restriction
       x     No Illegal Use of Controlled Substances
       x     Substance Abuse Testing and/or Treatment
       x     Restrict Access to Personal Identifiers
       x     Residential Requirements / Restrictions

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

The defendant was initially placed on courtesy pretrial supervision in the Southern District of
Florida. The defendant complied with the conditions of release. On February 13, 2017, U.S.
Magistrate Judge Kate M. Menendez approved of the defendant’s move to Bradford, Pennsylvania,
to be closer to his ex-wife and their minor child. The defendant was hoping to reconcile with his ex-
wife; however, the relationship has not improved. At this time, the defendant is requesting
permission to relocate to Glendale, Arizona, to reside with his sister, Jayme Steele. Ms. Steele is
aware of the instant offense and remains supportive of the defendant. Additionally, Ms. Steele is in
the process of renovating her residence and the defendant intends to help with the renovations.
According to the defendant’s supervising officer in Erie, Pennsylvania, he has remained compliant
with all conditions of release.

The government and defense counsel have no objections to the defendant’s relocation request.
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Petition for Action on Conditions of Pretrial Release        RE: John L. Steele
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PRAYING THAT THE COURT WILL ORDER:

That the defendant’s request to relocate to Glendale, Arizona be approved.

         ORDER OF THE COURT                            I declare under penalty of perjury that
                                                       the foregoing is true and correct.
                              17th
Considered and ordered this __________  day
      January
of __________________,   2018, and ordered             s/ Houa Vang
filed and made a part of the records in the            Houa Vang
above case.                                            U.S. Probation Officer
                                                       651-848-1273
 s/ Joan N. Ericksen
Joan N. Ericksen                                       Executed on     January 16, 2018
U.S. District Judge
                                                       Place           St. Paul

                                                       Approved:

                                                       s/ John P. Rayman
                                                       John P. Rayman
                                                       Supervising U.S. Probation Officer
